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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES                             NO. 2:20-cr-00045-GAM

                                           JUDGE MCHUGH

               v.

 ABDUR RAHIM ISLAM
 SHAHIED DAWAN
 KENYATTA JOHNSON
 DAWN CHAVOUS

                       Defendants


                                    [PROPOSED] ORDER

        AND NOW, this _____ day of _______________, 2022, upon consideration of Defendant

Kenyatta Johnson’s Motion to File Under Seal His Response in Opposition to Government’s

Motion to Seal, it is hereby ORDERED that the Motion is GRANTED. Defendant Kenyatta

Johnson’s Response in Opposition to Government’s Motion to Seal SHALL BE FILED UNDER

SEAL.



                                                BY THE COURT:


                                                ______________________________
                                                Honorable Gerald Austin McHugh
                                                U.S. District Court Judge
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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES                               NO. 2:20-cr-00045-GAM

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               v.

 ABDUR RAHIM ISLAM
 SHAHIED DAWAN
 KENYATTA JOHNSON
 DAWN CHAVOUS

                       Defendants

      DEFENDANT KENYATTA JOHNSON’S MOTION TO FILE UNDER SEAL
     HIS RESPONSE IN OPPOSITION TO GOVERNMENT’S MOTION TO SEAL

       Defendant Kenyatta Johnson (“Councilmember Johnson”), by and through his undersigned

counsel, hereby moves to file under seal his concurrently submitted Response in Opposition to

Government’s Motion to Seal, attached hereto as Attachment 1. In support of this motion,

Councilmember Johnson respectfully states as follows:

       1.     On January 28, 2020, the Government filed a twenty-two-count racketeering

Indictment against Defendants Abdur Rahim Islam, Shahied Dawan, Dawn Chavous, and

Councilmember Johnson (ECF No. 1). Only two of the twenty-two counts in the Indictment

pertain to Councilmember Johnson and/or his spouse, Ms. Chavous. Those are counts Nine and

Ten, which charge all four Defendants with honest services wire fraud under 18 U.S.C. §§ 1343

and 1346.

       2.     On February 7, 2020 the Count issued a Protective Order limiting disclosure of

materials produced by the Government in discovery (ECF No. 26).

       3.     On January 4, 2022, Councilmember Johnson filed, under seal, his Motion to

Exclude Evidence Relating to Purported Violation of Ethics Laws (the “Ethics Motion”) and its



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accompanying exhibits. See ECF No. 138. The Ethics Motion attaches, quotes, and otherwise

references certain material protected from disclosure by the Protective Order and/or the Local

Criminal Rules of the United States District Court for the Eastern District of Pennsylvania (the

“Local Rules”).

       4.     On January 4, the Government filed—under seal—a motion to seal a subsequent

Government filing (the “Government Motion to Seal”) (ECF Nos. 136, 137).

       5.     On January 12, the Government moved to unseal, inter alia, the Ethics Motion and

certain sealed motions in limine filed by Ms. Chavous (the “Motion to Unseal”) (ECF No. 151).

       6.     Pursuant to an Order issued by this Court on January 13, 2022, the Motion to Unseal

has been sealed. See ECF No. 154.

       7.     Councilmember Johnson has prepared a response in opposition to the Motion to

Unseal (the “Opposition”).

       8.     The Opposition discusses various issues raised in the Ethics Motion, the

Government Motion to Seal, and the Motion to Unseal. Councilmember Johnson believes that

portions of that discussion relate to and could reveal matters protected from disclosure by the

Protective Order, the Local Rules, and/or the Court’s January 13, 2022 sealing Order.

       WHEREFORE, Councilmember Johnson respectfully requests that the Court enter an

Order in the form submitted herewith directing that Defendant Kenyatta Johnson’s Response in

Opposition to Government’s Motion to Seal be filed under seal.




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Dated: January 20, 2022            Respectfully submitted,


                                   /s/ Patrick J. Egan
                                   Patrick J. Egan
                                   Nathan Huddell
                                   Stephanie Ohnona
                                   FOX ROTHSCHILD LLP
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                                   Attorneys for Defendant Kenyatta Johnson




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                                CERTIFICATE OF SERVICE

       I, Patrick Egan, hereby certify that on this day, I caused the foregoing to be filed

electronically with the Case Management/Electronic Case Filing System (“CM/ECF”) for the

Federal Judiciary. Notice of this filing will be sent to all parties by operation of the Notice of

Electronic Filing system, and the parties to this action may access this filing through CM/ECF.


Dated: January 20, 2022                             /s/ Patrick J. Egan
                                                    Patrick J. Egan
